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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     KYUNG SOOK PARK,                                     Case No. 22-mc-80085-DMR
                                   8                       Plaintiff,
                                                                                              ORDER DIRECTING PETITIONER TO
                                   9                v.                                        SERVE PETITION TO
                                                                                              CORRECT/AMEND PLAINTIFF'S
                                  10     UNITED STATES CITIZENSHIP AND                        DATE OF BIRTH ON CERTIFICATE
                                         IMMIGRATION SERVICES,                                OF NATURALIZATION
                                  11
                                                           Defendant.                         Re: Dkt. No. 1
                                  12
Northern District of California
 United States District Court




                                  13          Self-represented Petitioner Kyung Sook Park filed a petition to correct/amend the date of

                                  14   birth on her certificate of naturalization from August 10, 1959 to August 10, 1957. She labeled it

                                  15   as a motion for reconsideration under Federal Rule of Civil Procedure 60(b)(6). [Docket No. 1.]

                                  16   The court construes Park’s filing as a petition for a writ of mandamus to correct her certificate of

                                  17   naturalization pursuant to 28 U.S.C. § 1361. The court hereby identifies “United States

                                  18   Citizenship and Immigration Services, District Director” as the Respondent.

                                  19          Petitioner is ordered to serve a copy of (1) her petition, (2) all exhibits she filed on March

                                  20   29, 2022, and (3) this Order, on the United States Citizenship and Immigration Services

                                  21   (“USCIS”) in compliance with Federal Rule of Civil Procedure 4(i)(1) and (2), which state as

                                  22   follows:

                                  23          (i)        Serving the United States and Its Agencies, Corporations,
                                                         Officers, or Employees.
                                  24
                                                         (1) United States. To serve the United States, a party must:
                                  25
                                                         (A)(i) deliver a copy of the summons and of the complaint to the
                                  26                     United States attorney for the district where the action is brought—or
                                                         to an assistant United States attorney or clerical employee whom the
                                  27                     United States attorney designates in a writing filed with the court
                                                         clerk—or
                                  28
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                                                      (ii) send a copy of each by registered or certified mail to the civil-
                                   1                  process clerk at the United States attorney’s office;
                                                      (B) send a copy of each by registered or certified mail to the Attorney
                                   2                  General of the United States at Washington, D.C.; and
                                   3                  (C) if the action challenges an order of a nonparty agency or officer
                                                      of the United States, send a copy of each by registered or certified
                                   4                  mail to the agency or officer.
                                   5                  (2) Agency; Corporation; Officer or Employee Sued in an Official
                                                      Capacity. To serve a United States agency or corporation, or a United
                                   6                  States officer or employee sued only in an official capacity, a party
                                                      must serve the United States and also send a copy of the summons
                                   7                  and of the complaint by registered or certified mail to the agency,
                                                      corporation, officer, or employee.
                                   8
                                       Plaintiff shall file a certificate of service indicating that she has served USCIS in accordance with
                                   9
                                       this rule.
                                  10
                                               USCIS shall file a response to the petition to correct/amend Petitioner’s certificate of
                                  11
                                       naturalization within forty-five (45) days after service. Unless the Court orders otherwise, upon
                                  12
Northern District of California




                                       the conclusion of this briefing schedule, the matter will be deemed submitted for decision without
 United States District Court




                                  13
                                       a hearing.
                                  14
                                               The court refers Plaintiff to the section “Representing Yourself” on the Court’s website,
                                  15
                                       located at https://cand.uscourts.gov/pro-se-litigants/, as well as the Court’s Legal Help Centers for
                                  16
                                       unrepresented parties. Parties may schedule an appointment by calling 415-782-8982 or emailing
                                  17
                                       fedpro@sfbar.org.
                                  18
                                  19
                                               IT IS SO ORDERED.
                                  20
                                       Dated: June 24, 2022
                                  21
                                                                                         ______________________________________
                                  22                                                                   Donna M. Ryu
                                                                                               United States Magistrate Judge
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